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EXHIBIT 2 TO HUAWEI’S MOTION TO SEAL
                           (JX-027)
        PUBLIC REDACTED VERSION
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